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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS

 MADELEINE YATES, on behalf of                    )
 herself and other persons similarly situated,    )
                                                  )
                   Plaintiff,                     )    Civil Action No. 1:17-cv-09219
                                                  )
          v.                                      )    Honorable Sunil R. Harjani
                                                  )
 CHECKERS DRIVE-IN RESTAURANTS,                   )
 INC. and VIBES MEDIA, LLC,                       )
                                                  )
                   Defendants.                    )


             DEFENDANTS’ SUPPLEMENTAL NOTICE IN SUPPORT OF
        UNOPPOSED MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT

         On September 25, 2020, the Honorable Sunil R. Harjani held a status conference to discuss

the Unopposed Motion for Final Approval of Class Settlement, Response to Class Objector,

Application for Service Award, Application for Attorney’s Fees and Costs (“Motion for Final

Approval”) [D.E. 142] filed by Plaintiff Madeleine Yates on August 12, 2020. During the status

conference, the Court raised questions regarding (1) the claims rate, and (2) whether notice to the

class via text message would be appropriate. Defendants Checkers Drive-In Restaurants, Inc. and

Vibes Media, LLC (collectively, “Defendants”) respectfully submit this Supplemental Notice,

along with the attached Supplemental Declaration of Jennifer M. Keough Regarding Notice

Administration (the “Supplemental Declaration”), to address the Court’s questions and further the

discussions during the status conference scheduled for October 8, 2020.

   I.          Courts Regularly Approve Class Action Settlements With Similar Claims Rates.

         While Defendants recognize that the validated claims rate in this matter was lower than

expected, courts have noted that a “low claims rate is not unusual in a consumer class action.” Keil

v. Lopez, 862 F.3d 685, 702 (8th Cir. 2017). Courts across the country have therefore regularly
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approved class action settlements with claims rates below 1%, noting that such rates are not

dispositive nor indicative that the notice plan or settlement was deficient. See, e.g., Pollard v.

Remington Arms Co., LLC, 896 F.3d 900, 906-907 (8th Cir. 2018) (affirming approval of a class

action settlement where the claims rate was approximately .29%; explaining that the “low claim

submission rate, while not ideal, is not necessarily indicative of a deficient notice plan. It is

apparent that many class members received notice, but opted not to participate for any number of

reasons”); In re Packaged Ice Antitrust Litig., Case No. 08-MDL-1952, 2011 WL 6209188, at *14

(E.D. Mich. Dec. 13, 2011) (approving class action settlement where the claims rate was under

1%; explaining that the claims rate is “not dispositive” and that “many factors affect response rates

and this ratio should not be given great significance”); see also Poertner v. Gillette Co., 618 F.

App’x 624 (11th Cir. 2015) (affirming approval of a class action settlement where the claims rate

was approximately .76%); In re Apple iPhone 4 Prods. Liab. Litig., Case No. 10-cv-2188, 2012

WL 3283432, at *1 (N.D. Cal. Aug. 10, 2012) (approving class action settlement where the claims

rate was approximately .16%).

       Low claims rates are also not uncommon in suits brought under the Telephone Consumer

Protection Act (“TCPA”). Defendants sampled TCPA class action settlements from across the

country and the below chart reflects a sampling of TCPA class action settlements that were

approved within the last five years where the claims rate was less than 1%. Notably, the claims

rates in these cases were consistent with the claims rate here, irrespective of the amount of benefit

to the class members. Further, unlike the present case that provides both a class benefit to those

class members that submit valid claims and injunctive relief to the entire settlement class, only one

of these settlements also provided injunctive relief to the class. Notwithstanding, these settlements

were approved.



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                       Date of                           Number
Case Name and          Final                             of Opt   Number of Injunctive Benefit to
Citation               Approval     Claims Rate          Outs     Objections Relief?   each Claimant

Abramson v.
American Advisors                   0.54%
Group, Inc., et al.,                (6,999 valid
No. 2:19-cv-01341-                  claims/1,295,865                                   between
MJH (W.D. Pa. Sept. 9/29/2020       unique phone                                       $266.70 and
29, 2020)            [D.E. 80]      numbers)         49           0         No         $1,066.80

Defranks v.                         0.42%
Nastygal.com USA                    (483 “timely-
Inc., No. 1:19-cv-                  filed” claims/
23028-DPG (S.D.        9/4/2020     114,326 Class                                      $35 cash or
Fla. Sept. 4, 2020)    [D.E. 41]    List)                0        0         No         $45 voucher
Sana Mujahid v.                     0.38%
Divvymed, LLC, No.                  (109 valid
CV- 19-005454-                      claims/28,672
PHX-NVW (D. Ariz. 8/31/2020         unique phone
Aug. 31, 2020)     [D.E. 42]        numbers)             0        0         No         $532.99

Goldschmidt v. Rack                 0.33%
Room Shoes, No.                     (2,143 “timely
1:18-cv-21220-                      claims”/642,188
KMW (S.D. Fla. Jan. 1/16/2020       unique and valid                                   $5 cash and
16, 2020)           [D.E. 86]       email addresses) 0            0         No         $10 voucher
                                    .16%
Reid v. I.C. Syst.                  (1808 valid
Inc., No. 2:12-cv-                  claims/1,129,972                                   between
02661-ROS (D.          7/27/2018    unique email                                       $685.76 and
Ariz. July 27, 2018)   [D.E. 260]   addresses)       5            0         No         $1371.53
                                                                                       Every class
                                                                                       member
                                                                                       received a $12
                                                                                       taxi voucher;
Gragg v. Orange                                                                        every class
Cab Co., No. 2:12-                  0.47%                                              member who
cv-00576-RSL                        (283 valid                                         submitted a
(W.D. Wash. Oct. 5,    10/5/2017    claims/60,670                                      valid claim
2017)                  [D.E. 214]   class members)       0        0         No         received $48

Meyer v. Bebe
Stores, Inc., No.                   .19%
4:14-cv-00267-YGR                   (72 valid
(N.D. Cal. Dec. 6,     12/6/2017    claims/38,460
2017)                  [D.E. 164]   class members)       0        0         No         $20




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In re Prescription                  .53%
Pads TCPA                           (309
Litigation, No. 1:13-               claims/57,767
cv-06897 (N.D. Ill.     1/22/2015   unique class
Jan. 22, 2015)          [D.E. 45]   member records) 6             0            Yes         $20

           As set forth in the attached Supplemental Declaration, the claims rates in the above cases

 are also consistent with the Claim Administrator’s experience in administering TCPA settlements

 that obtained final approval. The Claim Administrator reported that the percentage of the class

 that submitted a claim averages approximately 2.6% in the TCPA cases they have handled, with

 an average of approximately 1.36% of the settlement classes filing validated claims. See Suppl.

 Decl. at ¶ 8. Here, the Claim Administrator received 58,736 claims, representing a higher than

 average 3% claim rate for the Class List and 4% claim rate for the Class Members for whom the

 Claim Administrator was able to locate an email or mailing address. Id. at ¶ 6. Of the 58,736

 claims, 7,017 claims were recommended for approval, representing a validated claim rate of 0.37%

 for the Class List and 0.5% for the Class Members who received notice. Id. at ¶ 7.

           Defendants respectfully submit that while the validated claims rate in this matter was lower

 than expected, the overall and validated claims rates are still consistent with the above cases that

 obtained final approval and in-line with the Claim Administrator’s experience in administering

 TCPA settlements that have obtained approval. Accordingly, Defendants respectfully request that

 the Court grant final approval of the settlement, as the parties have fully complied with the terms

 of the settlement that was negotiated in good faith for the benefit of the settlement class.

     II.      Text Message Notice is Not Appropriate in This TCPA Action.

           Second, the Court questioned whether providing notice to the class via text message would

 be appropriate. As a preliminary matter, Defendants respectfully submit that the direct notice rate




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of 75% 1 that was achieved here is reasonable and appropriate, particularly given the size of the

class (approximately 1,890,005 unique phones numbers) and the fact that no other data existed in

Defendants’ records from which to identify the potential class members other than the cellular

telephone numbers.

        The Seventh Circuit has recognized that a notice reach of 70% or higher is fully within the

acceptable range for a TCPA class action settlement. See Kaufman v. Am. Exp. Travel Related

Servcs. Co. Inc., 877 F.3d 276, 287 (7th Cir. 2017) (“[N]otice was provided to this massive class

in a reasonable and effective manner, reaching approximately 70% of the members”). As Judge

Feinerman recently noted, a class action reach of 75% “ordinarily is adequate.” Douglas v. W.

Union Co., 328 F.R.D. 204, 218 (N.D. Ill. 2018) (citing Judge’s Class Action Notice and Claims

Process Checklist & Plain Language Guide 3 (FJC 2010) (“It is reasonable to reach between 70-

95%”)); see also Pollard, 896 F.3d at 906-907 (affirming approval of class action settlement where

notice plan reached 73.7% of class members); see also Suppl. Decl. at ¶¶ 3-4 (explaining that the

“Federal Judicial Center’s Judges’ Class Action Notice and Claims Process Checklist and Plain

Language Guide considers over 70% reach among class members to be a ‘high percentage’ and

reasonable,” thereby supporting the 75% reach rate achieved here). As in Kaufman and Douglas,

Defendants respectfully submit that the 75% notice reach in this case was reasonable and adequate

given the limited data available.



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            Pursuant to the Declaration of Jennifer M. Keough Regarding Notice Administration [D.E. 142-3], the
Claim Administrator was able to identify one or more email addresses for 1,419,400 of the 1,890,005 unique telephone
numbers on the Class List and email notice was provided to each of those email addresses. See Keough Decl. at ¶¶ 4,
9. The email notice was returned as undeliverable for only 34,597 unique cellular telephone numbers. Id. at ¶ 10.
The Claim administrator was able to locate complete mailing addresses for 26,594 of the 34,597 unique phone numbers
where the email notice was returned as undeliverable and mailed notice was provided to those unique phone numbers.
Id. at ¶ 11. As a result, direct notice was provided to 1,411,397 of the 1,890,005 unique phone numbers on the Class
List, representing a notice reach rate of 74.67%. In addition to the direct notice, notice was also provided via the
settlement website and the Claim Administrator reported that the website received 275,208 views as of August 7,
2020. Id. at ¶ 15.

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       Defendants further submit that providing notice via text would not be appropriate in this

case, as it would potentially exacerbate the very harm that Plaintiff sought to prevent in bringing

the action and could expose the parties and the Claim Administrator to additional risk under the

TCPA. The ultimate underlying fact in this case was the receipt of a text message containing a

coupon for a free burger. Thus, the Court should be particularly cautious about requiring the exact

same scenario underpinning the entire class action—a text message with a coupon for a free

burger—to provide additional notice to the class.

       Notably, Defendants have not identified a single TCPA case where a court ordered or

approved notice to the class via text message. In those cases where text notice was utilized, the

actions typically involved circumstances where the text notice was provided to existing customers

of the defendant such that there was arguable evidence of consent to provide such messages. See,

e.g., In re: TracFone Unlimited Service Plan Litig., No. 13-cv-03440-EMC, 2015 WL 13035125

(N.D. Cal. Feb. 20, 2015) (approving text notice to “current subscribers to a TracFone data service

plan” on the conditions that (1) the messages would only be sent to those class members who had

not opted out of receiving text messages, (2) no recipients would be charged for the text messages,

and (3) the court found that any text message notices were purely informational messages); In re

AT&T Mobility Wireless Data Servs. Sales Tax Litig., 789 F. Supp. 2d 935, 968 (N.D. Ill. 2011)

(overruling objection to the class notice in action alleging violation of the Internet Tax Freedom

Act; concluding that text message notice to current customers of AT&T was sufficient).

       In contrast, numerous courts have raised concerns about the impact of text notice on

consumers, particularly when considering the implications of the TCPA. See Miller v. JAH, LLC,

No. 5:16-cv-01543-AKK, 2018 WL 305819, at *3 (N.D. Ala. Jan. 5, 2018) (rejecting text notice

and explaining that “the court has serious reservations about sanctioning text messages as a way



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to reach the potential class”); see also Gibbs v. MLK Express Servs., LLC, No.

218CV434FTM38MRM, 2019 WL 2635746, at *10 (M.D. Fla. June 27, 2019) (finding that text

message notice was not appropriate because “sending notice via text message is unnecessary and

potentially costly for the recipients”); Sellers v. Sage Software, Inc., No. 1:17-CV-03614-ELR,

2018 WL 5631106, at *5 (N.D. Ga. May 25, 2018) (denying the request to disseminate notice via

text message because “sending notice via text message is unnecessary and potentially costly for

the recipients”).

       In Miller, the court rejected text notice in light of the potential costs to class members and

TCPA risks. 2018 WL 305819, at *3. Specifically, the court explained that “some individuals

have limited phone plans, and unwarranted text messages may cause these individuals to incur

monetary damages.” Id. The court also emphasized that “sending potential class members text

messages will subject them to the annoyance of unsolicited messages that Congress passed the

Telephone Consumer Protection Act, in part, to address.” Id. These concerns are particularly

poignant here when Plaintiff and the putative class members contend that Defendants did not have

the proper consent to contact them on their cellular telephones via text message, and the Claim

Administrator has indicated that it does not have a mechanism to send the text messages to the

class without costs to the recipients. And Defendants are enjoined from using the database of

cellular phone numbers utilized to send text messages to the Settlement Class for future text

messaging programs pursuant to the injunctive relief terms of the settlement. As such, sending

additional text messages to the class potentially subjects the class to the very same annoyance and

costs that Plaintiff sought to remedy by bringing the present action.

       Further, neither the TCPA nor the implementing regulations contain exceptions to the

consent requirements for text messages sent by court order. Thus, even if the Court were to order



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this type of notice, it may not insulate the parties, or the Claim Administrator, from potential TCPA

claims. Therefore, in order to avoid a scenario wherein the parties seek to resolve a TCPA class

action by engaging in the very conduct that forms the basis for the underlying lawsuit, Defendants

respectfully submit that notice via text message would be inappropriate.

                                         CONCLUSION

       For the reasons discussed herein, Defendants respectfully request that the Court approve

the settlement and grant Plaintiff’s Motion for Final Approval. The claims rate in this case is

consistent with the claims rates previously approved in other TCPA class action settlements across

the country in the last five years. Moreover, as the Seventh Circuit has held, a notice reach of 75%

in a TCPA class action is adequate and reasonable and, therefore, no further notice should be

required.

       Respectfully submitted this 7th day of October, 2020.

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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF ILLINOIS

  MADELINE YATES, on behalf of herself               )
  and other persons similarly situated,              )
                                                     )
                 Plaintiff,                          )
                                                     )
  v.                                                 )       Civil Action No. 1:17-cv-09219
                                                     )
  CHECKERS DRIVE-IN RESTAURANTS,                     )
  INC. and VIBES MEDIA, LLC,                         )
                                                     )
                 Defendants.                         )
                                                     )

                                CERTIFICATE OF SERVICE

       I hereby certify that on October 7, 2020, I electronically filed the foregoing via the

CM/ECF system for the Northern District of Illinois, which sent notice of such filing to all counsel

of record.

                                                         /s/Matthew S. Dowling
                                                         Matthew S. Dowling




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